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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY



 IN RE: VALEANT PHARMACEUTICALS                        Civil Action No. 15-7658
 INTERNATIONAL, INC. SECURITIES
 LITIGATION                                            JUDGE MICHAEL A. SHIPP
                                                       JUDGE LOIS H. GOODMAN
 _____________________________________
                                                       JUDGE DENNIS CAVANAUGH, RET.
 THIS DOCUMENT RELATES TO:                             SPECIAL MASTER

 18-cv-15286-MAS-LHG (Northwestern
 Mutual Life Insurance Co.)


                  J. MICHAEL PEARSON’S ANSWER TO PLAINTIFFS’
                      COMPLAINT AND AFFIRMATIVE DEFENSES


        Defendant J. Michael Pearson (“Mr. Pearson”), by and through his undersigned attorneys,

 hereby answers and responds to Plaintiffs’ Complaint, dated October 24, 2018 (the

 “Complaint”).

        Pursuant to the September 24, 2019 Stipulation and Order (ECF No. 55) (the “Order”),

 the Answer and Affirmative Defenses that Mr. Pearson filed in the related class action, In re

 Valeant Pharmaceuticals International, Inc. Securities Litigation, Case No. 15-cv-7658 (the

 “Class Action”), ECF No. 378 (the “Class Action Answer”), is incorporated by reference as if set

 forth fully herein. Order, ECF No. 55, ¶(a). Accordingly, set forth below are Mr. Pearson’s



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 (i) responses to Sections III.A and VIII of the Complaint, as well as those portions of Section XII

 of the Complaint that assert causes of action that are not asserted in the Class Action and have

 not been dismissed by the Court, to the extent such Counts are asserted against Mr. Pearson; and

 (ii) additional applicable affirmative defenses not raised in the Class Action Answer. See id.,

 ¶(b). No allegations in the Complaint shall be deemed admitted pursuant to Federal Rule of

 Civil Procedure 8(b)(6) unless admitted in (i) the Class Action Answer; (ii) the portions of this

 Answer addressing the above-mentioned specific paragraphs of the Complaint; or (iii) any

 amended answer as contemplated by section (d) of the Order. See id., ¶(c).

                                       GENERAL DENIAL

        Except as otherwise expressly stated herein or in the Class Action Answer, Mr. Pearson

 (1) generally denies each and every allegation in the Complaint, including, without limitation,

 any allegations contained in the preamble, introduction, headings, subheadings, unnumbered

 paragraphs and footnotes of the Complaint; (2) specifically denies any allegations to the extent

 they assert or suggest that Mr. Pearson acted or was imputed with scienter; (3) specifically denies

 that he has caused Plaintiffs any harm; (4) denies any liability to Plaintiffs; (5) denies knowledge

 or information sufficient to form a belief as to the truth or falsity of the allegations where they

 consist of excerpts from and/or references to third-party publications or statements; and (6)

 denies any defined terms in the Complaint to the extent they constitute allegations directed at Mr.

 Pearson.

        Mr. Pearson reserves the right to challenge the authenticity of all sources and documents

 referred to or purportedly quoted from in the Complaint, and to assert that any of the sources or

 documents referred to or purportedly quoted from by Plaintiffs in the Complaint are covered by

 the attorney-client privilege, the work product doctrine, and/or otherwise applicable privileges.

 Further, in each case where Mr. Pearson admits that Plaintiffs have accurately quoted a portion


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 of a document, Mr. Pearson does not thereby admit any allegation concerning the document’s

 application, any characterization of the document or portion thereof, or that the selective

 quotation fairly represents the document as a whole, and respectively refers the Court to such

 document for a true and complete account of its contents.

        Mr. Pearson reserves the right to seek to amend or supplement his Answer as may be

 necessary or appropriate.

                         RESPONSES TO SPECIFIC ALLEGATIONS

 A.     Section III.A

        18.     Mr. Pearson admits that Northwestern Mutual Life Insurance Co. (“Northwestern

 Life”) is a plaintiff in this action. Mr. Pearson denies knowledge or information sufficient to

 form a belief as to the truth or falsity of the remaining allegations in Paragraph 18, and on that

 basis denies the allegations.

        19.     Mr. Pearson admits that Northwestern Mutual Series Fund, Inc. – High Yield

 Bond Portfolio is a plaintiff in this action. Mr. Pearson denies knowledge or information

 sufficient to form a belief as to the truth or falsity of the remaining allegations in Paragraph 19,

 and on that basis denies the allegations.

        20.     Mr. Pearson admits that Northwestern Mutual Series Fund, Inc. – Research

 International Core Portfolio is a plaintiff in this action. Mr. Pearson denies knowledge or

 information sufficient to form a belief as to the truth or falsity of the remaining allegations in

 Paragraph 20, and on that basis denies the allegations.

        21.     Mr. Pearson denies that any illegal scheme existed, denies participating in any

 illegal scheme, denies that he made any misrepresentations or omissions, and denies that Valeant

 stock and notes traded at materially inflated prices. Mr. Pearson denies knowledge or




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 information sufficient to form a belief as to the truth or falsity of the remaining allegations in

 Paragraph 21, and on that basis denies the allegations.

 B.     Section VIII

        347.    The allegations in Paragraph 347 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies the allegations in Paragraph 347.

        348.    The allegations in Paragraph 348 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies the allegations in Paragraph 348.

        349.    The allegations in Paragraph 349 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson admits that Valeant shares of common stock trade on the New York Stock

 Exchange and the Toronto Stock Exchange, that Valeant files periodic reports with the SEC and

 makes periodic public statements to the market, that Valeant issued press releases, and that

 securities analysts have reported on Valeant. Mr. Pearson otherwise denies the allegations in

 Paragraph 349.

        350.    The allegations in Paragraph 350 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies the allegations in Paragraph 350.

        351.    The allegations in Paragraph 351 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies the allegations in Paragraph 351.




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        352.    The allegations in Paragraph 352 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies the allegations in Paragraph 352.

        353.    Mr. Pearson denies knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations in Paragraph 353, and on that basis denies the allegations.

        354.    Mr. Pearson denies knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations in Paragraph 354, and on that basis denies the allegations.

        355.    Mr. Pearson denies knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations in Paragraph 355, and on that basis denies the allegations.

        356.    Mr. Pearson denies knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations in Paragraph 356, and on that basis denies the allegations.

        357.    The allegations in Paragraph 357 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies knowledge or information sufficient to form a belief as to the truth

 or falsity of the allegations in Paragraph 357, and on that basis denies the allegations, except

 admits that the allegations in Paragraph 357 accurately quote portions of the 2013 Form 10-K.

        358.    The allegations in Paragraph 358 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies knowledge or information sufficient to form a belief as to the truth

 or falsity of the allegations in Paragraph 358, and on that basis denies the allegations, except

 states that to the extent the allegations purport to describe and/or quote documents, Mr. Pearson

 refers the Court to such documents for a true and complete statement of their contents.




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        359.    The allegations in Paragraph 359 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies knowledge or information sufficient to form a belief as to the truth

 or falsity of the allegations in Paragraph 359, and on that basis denies the allegations, except

 admits that the allegations in Paragraph 359(a) accurately quote portions of the 2014 Form 10-K.

        360.    The allegations in Paragraph 360 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies knowledge or information sufficient to form a belief as to the truth

 or falsity of the allegations in Paragraph 360, and on that basis denies the allegations, except

 states that to the extent the allegations purport to describe and/or quote documents, Mr. Pearson

 refers the Court to such documents for a true and complete statement of their contents.

        361.    The allegations in Paragraph 361 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies knowledge or information sufficient to form a belief as to the truth

 or falsity of the allegations in Paragraph 361, and on that basis denies the allegations.

        362.    Mr. Pearson denies knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations in Paragraph 362, and on that basis denies the allegations.

        363.    Mr. Pearson denies knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations in Paragraph 363, and on that basis denies the allegations.

        364.    Mr. Pearson denies knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations in Paragraph 364, and on that basis denies the allegations.

        365.    Mr. Pearson denies knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations in Paragraph 365, and on that basis denies the allegations.




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        366.    The allegations in Paragraph 366 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies knowledge or information sufficient to form a belief as to the truth

 or falsity of the allegations in Paragraph 366, and on that basis denies the allegations, except

 admits that the allegations in Paragraph 366 accurately quote portions of the 2013 Form 10-K.

        367.    The allegations in Paragraph 367 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies knowledge or information sufficient to form a belief as to the truth

 or falsity of the allegations in Paragraph 367, and on that basis denies the allegations, except

 states that to the extent the allegations purport to describe documents, Mr. Pearson refers the

 Court to such documents for a true and complete statement of their contents.

        368.    The allegations in Paragraph 368 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies knowledge or information sufficient to form a belief as to the truth

 or falsity of the allegations in Paragraph 368, and on that basis denies the allegations, except

 admits that the allegations in Paragraph 368(a) accurately quote portions of the 2014 Form 10-K.

        369.    The allegations in Paragraph 369 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies knowledge or information sufficient to form a belief as to the truth

 or falsity of the allegations in Paragraph 369, and on that basis denies the allegations, except

 states that to the extent the allegations purport to describe and/or quote documents, Mr. Pearson

 refers the Court to such documents for a true and complete statement of their contents.




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        370.    The allegations in Paragraph 370 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies knowledge or information sufficient to form a belief as to the truth

 or falsity of the allegations in Paragraph 370, and on that basis denies the allegations.

        371.    Mr. Pearson denies knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations in Paragraph 371, and on that basis denies the allegations.

        372.    Mr. Pearson denies knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations in Paragraph 372, and on that basis denies the allegations.

        373.    Mr. Pearson denies knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations in Paragraph 373, and on that basis denies the allegations.

        374.    Mr. Pearson denies knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations in Paragraph 374, and on that basis denies the allegations.

        375.    The allegations in Paragraph 375 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies knowledge or information sufficient to form a belief as to the truth

 or falsity of the allegations in Paragraph 375, and on that basis denies the allegations, except

 admits that the allegations in Paragraph 375(a) accurately quote portions of the 2014 Form 10-K.

        376.    The allegations in Paragraph 376 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies knowledge or information sufficient to form a belief as to the truth

 or falsity of the allegations in Paragraph 376, and on that basis denies the allegations, except

 states that to the extent the allegations purport to describe and/or quote documents, Mr. Pearson

 refers the Court to such documents for a true and complete statement of their contents.




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        377.    The allegations in Paragraph 377 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies knowledge or information sufficient to form a belief as to the truth

 or falsity of the allegations in Paragraph 377, and on that basis denies the allegations.

 C.     Section XII

                                             COUNT V

        424.    Mr. Pearson incorporates by reference and restates this Answer’s responses to

 Paragraphs 1-390 as if fully set forth herein. To the extent this Answer does not specifically

 respond to a cross-referenced paragraph, Mr. Pearson’s responses to such allegations are

 encompassed by the Class Action Answer, which, pursuant to the Order, is incorporated by

 reference herein.

        425.    The allegations in Paragraph 425 consist of legal conclusions and Plaintiffs’

 description of their Mr. Pearson denies the allegations in Paragraph 425.

        426.    The allegations in Paragraph 426 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies the allegations in Paragraph 426.

        427.    The allegations in Paragraph 427 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies the allegations in Paragraph 427.

        428.    The allegations in Paragraph 428 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies the allegations in Paragraph 428.

        429.    The allegations in Paragraph 429 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed


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 required, Mr. Pearson denies knowledge or information sufficient to form a belief as to the truth

 or falsity of the allegations in Paragraph 429, and on that basis denies the allegations.

        430.    Mr. Pearson incorporates by reference and restates this Answer’s responses to

 Paragraphs 352–77 as if fully set forth herein. To the extent this Answer does not specifically

 respond to a cross-referenced paragraph, Mr. Pearson’s responses to such allegations are

 encompassed by the Class Action Answer, which, pursuant to the Order, is incorporated by

 reference herein. The remaining allegations in Paragraph 430 consist of legal conclusions and

 Plaintiffs’ description of their claims, to which no response is required. To the extent a response

 is deemed required, Mr. Pearson denies knowledge or information sufficient to form a belief as

 to the truth or falsity of the allegations in Paragraph 430, and on that basis denies the allegations.

        431.    The allegations in Paragraph 431 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies knowledge or information sufficient to form a belief as to the truth

 or falsity of the allegations in Paragraph 431 regarding Plaintiffs’ conduct, and on that basis

 denies the allegations.

        432.    The allegations in Paragraph 432 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies the allegations in Paragraph 432.

        433.    The allegations in Paragraph 433 consist of legal conclusions and Plaintiffs’

 description of their claims, to which no response is required. To the extent a response is deemed

 required, Mr. Pearson denies the allegations in Paragraph 433.

                                   AFFIRMATIVE DEFENSES

                Pursuant to the Order, the Affirmative Defenses asserted in the Class Action

 Answer are incorporated by reference and restated herein.


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                Without assuming the burden of proof as to any defense or issue that would

 otherwise rest on Plaintiffs or as to any element of Plaintiffs’ claims, and reserving the right to

 amend this Answer to assert any additional defenses when, and if, in the course of his

 investigation, discovery, preparation for trial, or otherwise it becomes appropriate to assert such

 defenses, Mr. Pearson incorporates by reference and restates herein the Affirmative Defenses

 asserted in the Class Action Answer and Mr. Pearson asserts the following, additional

 affirmative defenses.

                               FIRST AFFIRMATIVE DEFENSE

                Plaintiffs’ claims are barred, in whole or in part, because Mr. Pearson at all times

 acted in good faith and did not know, and in the exercise of reasonable care could not have

 known or had reasonable grounds to believe, that any misstatements or omissions of material fact

 existed in any of Valeant’s filings with the United States Securities and Exchange Commission

 (“SEC”).

                             SECOND AFFIRMATIVE DEFENSE

                Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs did not

 actually rely on the public filings or statements alleged in the Complaint that were alleged to be

 materially false or misleading when made.

                              THIRD AFFIRMATIVE DEFENSE

                Plaintiffs’ claims are barred, in whole or in part, to the extent they are premised

 on alleged misstatements or omissions of material fact in documents that were not filed with the

 SEC.




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                            FOURTH AFFIRMATIVE DEFENSE

               Plaintiffs’ claims are barred, in whole or in part, to the extent that they are beyond

 the applicable statute(s) of limitation and/or repose, and Plaintiffs are barred from invoking

 tolling under American Pipe & Construction Co. v. Utah, 414 U.S. 538 (1974).

                                  ADDITIONAL DEFENSES

               Mr. Pearson asserts, and expressly reserves all rights with respect to, all

 counterclaims, cross-claims, third-party claims or contribution claims that may be revealed

 during the course of discovery. Mr. Pearson also asserts and expressly reserves all rights with

 respect to all other defenses that may be revealed during the course of discovery. Mr. Pearson

 expressly reserves the right to amend and/or supplement this Answer.


 Dated: November 12, 2019                        s/ Matthew J. Petrozziello
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